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   11 Attorneys for Plaintiff THERABODY, INC.
   12                                UNITED STATES DISTRICT COURT
   13                              CENTRAL DISTRICT OF CALIFORNIA
   14                                        WESTERN DIVISION
   15
   16 THERABODY, INC., a Delaware                         Case No. 2:22-cv-00596-RGK-AFM
      corporation,,
   17                                                     FIRST AMENDED COMPLAINT
                    Plaintiff,                            FOR:
   18
             v.                                           (1) BREACH OF CONTRACT;
   19
      ADURO PRODUCTS LLC; JACK                            (2) INFRINGEMENT OF U.S.
   20 BRACHA; and DOES 1 through 10,                      PATENT NOS. 10,702,448;
      inclusive,                                          10,918,565; 11,160,722;
   21
                    Defendants.                           DEMAND FOR JURY TRIAL
   22
   23
   24                Plaintiff Therabody, Inc. ("Therabody") files this complaint against
   25 defendants Aduro Products LLC and Jack Bracha (collectively, "Aduro") and Does
   26 1-10, inclusive (collectively "Defendants").
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    1                                          THE PARTIES
    2                1.   Therabody is, and at all times relevant hereto was, a corporation duly
    3 organized and existing under the laws of the state of Delaware, with its principal
    4 place of business at 6100 Wilshire Blvd., Ste. 200, Los Angeles, CA 90048.
    5                2.   Therabody is informed and believes and, based thereon, alleges that
    6 defendant Aduro Products LLC is a New York limited liability company, with
    7 offices at 250 Liberty Street, Metuchen, New Jersey 08840.
    8                3.   Therabody is informed and believes and, based thereon, alleges that
    9 defendant Jack Braha is a resident of the state of New York and the owner of Aduro.
   10                4.   Therabody is ignorant of the true names and capacities of Defendants
   11 sued herein as Does 1 through 10, inclusive, and therefore sues these Defendants by
   12 such fictitious names and capacities. Therabody will amend this Complaint to allege
   13 their true names and capacities when ascertained, along with the appropriate
   14 charging allegations.
   15                5.   Therabody is informed and believes and thereon alleges that
   16 Defendants are manufacturing, using, selling, or offering for sale within the United
   17 States, or importing into the United States the infringing percussive massage devices
   18 described below.
   19                6.   Therabody is informed and believes and thereon alleges that each of the
   20 Defendants conspired and acted in concert with one or more other Defendants to
   21 commit the wrongs against Therabody alleged herein, and in doing so were at all
   22 relevant times the agents, servants, employees, principals, joint venturers, alter egos,
   23 and/or partners of each other. Therabody is further informed and believes and on
   24 that basis alleges that, in doing the things alleged in this Complaint, each of the
   25 Defendants was acting within the scope of authority conferred upon that Defendant
   26 by the consent, approval, and/or ratification of one or more of the other Defendants.
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    1                                   JURISDICTION AND VENUE
    2                7.    This is an action for (a) breach of contract and (b) patent infringement
    3 under the patent laws of the United States, 35 U.S.C. § 271.
    4                8.    This Court has subject matter jurisdiction over the breach of contract
    5 claims under 28 U.S.C. § 1332 because the parties are diverse and the amount in
    6 controversy exceeds $75,000. The Court has subject matter jurisdiction over the
    7 patent claims pursuant to 28 U.S.C. § 1338.
    8                9.    This Court has personal jurisdiction over Defendants and venue is
    9 proper in this District pursuant to 28 U.S.C. §§ 1391(b) & (c), Defendant Aduro’s
   10 consent to the exclusive jurisdiction of courts in the County of Los Angeles, State of
   11 California for Theragun’s breach of contract claim, and under pendent venue
   12 doctrine given that Theragun’s patent infringement claims arise out of the same
   13 nucleus of operative fact as its properly venued claim for breach of contract.
   14 Therabody is informed and believes and, based thereon, alleges that, all Defendants
   15 distribute, promote, market, use, sell, offer for sale, import, and/or advertise their
   16 infringing products in or to this District and/or to businesses and individuals in this
   17 District. Therabody is further informed and believes and, based thereon, alleges that
   18 Defendants derive substantial revenue from the distribution, promotion, marketing,
   19 manufacture, use, sale, offer for sale, or import of infringing products in or to this
   20 District.
   21                                    GENERAL ALLEGATIONS
   22                10.   Therabody is in the business of developing, manufacturing, and selling
   23 high-quality, innovative percussive therapy devices and attachments therefor.
   24 Therabody invests considerable time, effort and money in developing and protecting
   25 its intellectual property, including patenting its innovative products.
   26                11.   Therabody is the owner of United States Patent Number 10,702,448
   27 entitled "Percussive Massage Device and Method of Use" (hereinafter the '448
   28 Patent), issued on July 7, 2020. A true and correct copy of the '448 Patent is

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    1 attached hereto as Exhibit A.
    2                12.   The ‘448 Patent pertains to a vibrating massage device or percussive
    3 massage device that provides reciprocating motion. The ‘448 Patent is presumed to
    4 be valid and is prima facie proof that the inventions claimed in the ‘448 Patent are
    5 novel and non-obvious.
    6                13.   Therabody is the owner of United States Patent Number 10,918,565,
    7 entitled “Percussive massage device and method of use” (hereinafter the '565
    8 Patent”), issued on February 16, 2021. A true and correct copy of the '565 Patent is
    9 attached hereto as Exhibit B.
   10                14.   The ‘565 Patent pertains to a vibrating massage device or percussive
   11 massage device that provides reciprocating motion. The ‘565 Patent is presumed to
   12 be valid and is prima facie proof that the inventions claimed in the ‘565 Patent are
   13 novel and non-obvious.
   14                15.   Therabody is the owner of United States Patent Number 11,160,722,
   15 entitled “Percussive Therapy Device and Method of Use” (hereinafter the ‘722
   16 Patent”), issued on November 2, 2021. A true and correct copy of the ’722 Patent is
   17 attached hereto as Exhibit C.
   18                16.   The ‘722 Patent pertains to a vibrating massage device or percussive
   19 massage device and method of use. The ‘722 Patent is presumed to be valid and is
   20 prima facie proof that the inventions claimed in the ‘722 Patent are novel and non-
   21 obvious. The ‘448, ‘565 and ‘722 Patents are hereafter “Asserted Patents.”
   22                17.   Therabody’s patented and patent-pending devices are innovative and
   23 have received industry praise and recognition, including the 2019 A’ Design Award
   24 in Digital and Electronic Devices Design for its Therabody G3PRO design.
   25                                        Defendants’ Conduct
   26                18.   On or around July of 2021, Therabody became aware of an infringing
   27 percussive massage device made by Defendant Aduro, namely, the Aduro Sport
   28 Massage Gun Pro.

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    1         19.   Following negotiations regarding Therabody’s infringement claim,
    2 Therabody and Aduro entered into a Settlement Agreement effective December 9,
    3 2021.
    4         20.   After the Effective Date of the Settlement Agreement, Therabody
    5 became aware that Defendants were competing with Therabody in the percussive
    6 massage device industry by manufacturing and selling other percussive massage
    7 devices that infringe the Asserted Patents. Specifically, Defendants are marketing,
    8 promoting, advertising, using, selling, offering to sell, and/or importing the
    9 infringing device, the “Recovery Massage Gun Max Grip,” shown below (the
   10 “Infringing Product”).
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   22         21.   The Infringing Product is integral to Defendants’ product offering as
   23 shown on Amazon.1 From this, it is apparent that Defendants have been actively
   24 advertising the Infringing Product, touting the products throughout a variety of
   25 markets and to numerous audiences. Therabody is informed and believes that
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        https://www.amazon.com/Aduro-Percussion-Massage-Massager-
   28 Athletes/dp/B09FL8QMN5/ref=sr_1_6?keywords=aduro+sport+massage+gun&qid
      =1641848461&sprefix=aduro+%2Caps%2C126&sr=8-6
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    1 Defendants sell their Infringing Product in the same marketing channels as
    2 Therabody.
    3                22.   On December 22, 2021, Therabody notified Defendants by their
    4 counsel of record that the Infringing Product was infringing Therabody's Asserted
    5 Patents and demanded that Defendants immediately cease and permanently
    6 discontinue all manufacture, offer for sale, sale, use and importation of the
    7 Infringing Product.
    8                23.   As of the date of the filing of this amended complaint, Defendants
    9 continued to sell the Infringing Product despite notice that it was infringing the
   10 Asserted Patents.
   11                                    FIRST CAUSE OF ACTION
   12                                         Breach of Contract
   13                                           (Against Aduro)
   14                24.   Therabody incorporates by reference all other paragraphs of this
   15 complaint as if fully set forth herein.
   16                25.   The Settlement Agreement is a valid and enforceable contract between
   17 Therabody and Aduro.
   18                26.   Aduro breached the Settlement Agreement by, inter alia, making,
   19 marketing, advertising, selling, importing, offering for sale, and/or distributing the
   20 Infringing Product.
   21                27.   As a result of Aduro’s breach, Therabody has suffered harm in an
   22 amount exceeding $75,000.
   23                28.   Aduro's breaches are without excuse under law or contract.
   24                29.   Therabody has fully performed all of its obligations and satisfied all
   25 conditions for performance under the Settlement Agreement.
   26                30.   Aduro has willfully, and with conscious disregard for the contractual
   27 obligations owed to Therabody, breached the Settlement Agreement.
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    1                31.   Unless restrained and enjoined by the Court, Aduro will continue to
    2 breach the Settlement Agreement.
    3                                  SECOND CAUSE OF ACTION
    4                  Patent Infringement of the ‘448 Patent, 35 U.S.C. §§ 101 et seq.
    5                                       (Against All Defendants)
    6                32.   Therabody realleges and incorporates by reference all foregoing
    7 paragraphs as if fully set forth herein.
    8                33.   At all times herein mentioned the ‘448 Patent was and is valid and fully
    9 enforceable.
   10                34.   Defendants are offering percussive massage devices that infringe at
   11 least claim 6 of the ‘448 Patent, including at least the Infringing Product.
   12                35.   Defendants' Infringing Product is a percussive massage device.
   13                36.   As shown below, the Infringing Product includes a housing wherein the
   14 housing includes first, second and third handle portions that cooperate to define a
   15 handle opening.
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   24                37.   As shown below, Defendants' Infringing Product includes a first handle
   25 portion that defines a first axis, a second handle portion defines a second axis and a
   26 third handle portion defines a third axis, and wherein the first, second and third axes
   27 cooperate to form a triangle.
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    7                38.   As shown above, the Infringing Product includes that the first handle
    8 portion is generally straight, the second handle portion is generally straight, and that
    9 the third handle portion is generally straight, such that a user can grasp any of the
   10 first, second or third handle portions independently to use the percussive massage
   11 device.
   12                39.   The Infringing Product includes an electrical source, a motor positioned
   13 in the housing, a switch for activating the motor, and a push rod assembly
   14 operatively connected to the motor and configured to reciprocate in response to
   15 activation of the motor.
   16                40.   On information and belief, at least since Plaintiff’s December 21, 2021
   17 email, Defendants have knowingly and actively induced the infringement of one or
   18 more of the ’448 Patent claims by, inter alia, marketing, promoting, and offering for
   19 use the Infringing Product, knowingly and intending that the use of the Infringing
   20 Product by Defendants’ customers and by users infringes the ’448 Patent. For
   21 example, Defendants intend to induce such infringement by, among other things,
   22 promoting users to purchase and use the Infringing Product knowing that its
   23 purchase and use infringes one or more claims of the ’448 Patent.
   24                41.   On information and belief, at least since Plaintiff’s December 21, 2021
   25 email, Defendants have contributed to the infringement of the ‘448 Patent by their
   26 customers and users of the Infringing Product by, inter alia, making, offering to sell,
   27 selling and/or importing into the United States, a component of a patented machine,
   28 manufacture or combination, or an apparatus for use in practicing a patented

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    1 process, constituting a material part of the invention, knowing the same to be
    2 especially made or especially adapted for use in infringing the ‘448 Patent. The
    3 Infringing Product is not a staple article or commodity of commerce suitable for
    4 substantial non-infringing use and is known by Defendants to be especially made or
    5 especially adapted to the infringement of the ‘448 Patent. As a result, Defendants’
    6 Infringing Product has been used by its customers and by users to infringe the ‘448
    7 Patent. Defendants continue to engage in acts of contributory infringement of the
    8 ‘448 Patent even after receiving notice of its contributory infringement.
    9                42.   Defendants infringe literally or under the doctrine of equivalents, or
   10 both.
   11                43.   At no time has Therabody granted Defendants authorization, license, or
   12 permission to utilize the inventions claimed in the ‘448 Patent.
   13                44.   Therabody has been damaged by Defendants’ acts of infringement of
   14 the ‘448 Patent and Therabody will continue to be damaged by such infringement
   15 unless enjoined by this Court. Therabody is entitled to recover damages adequate to
   16 compensate for the infringement under 35 U.S.C. § 284.
   17                45.   Therabody is, and has been, irreparably harmed by Defendants’ on-
   18 going infringement including the following harm which cannot be quantified or
   19 recouped through monetary damages: (1) lost market share that will be difficult, if
   20 not impossible, to recoup later as the Infringing Product becomes entrenched with
   21 retail sellers and trainers who recommend them to their clients, (2) loss of first
   22 mover advantage that Therabody enjoyed as the first company to offer its innovative
   23 percussive devices and patented attachments, (3) loss of Therabody’s investment in
   24 developing the market for percussive devices and its patented attachments,
   25 (4) negative effect on its reputation as innovator and pioneer, (5) the unquantifiable
   26 effect on lost sales of related products, (6) price erosion due to Defendants’
   27 Infringing Product being sold at a price point lower than Therabody’s patented
   28 products, (7) diversion of resources to defend against loss of market share caused by

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    1 sales of the Infringing Product, and (8) Defendants’ unauthorized sales that are
    2 enticing others to offer for sale and sell infringing attachments that leads to
    3 additional irreparable harm described above.
    4                46.   Defendants’ acts of infringement, including continuing the infringing
    5 activities after receiving notice of Defendants’ direct and indirect infringement, have
    6 been, and continue to be, willful and deliberate and therefore warrant the award of
    7 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
    8 pursuant to 35 U.S.C. § 284.
    9                                   THIRD CAUSE OF ACTION
   10                  Patent Infringement of the ‘565 Patent, 35 U.S.C. §§ 101 et seq.
   11                                          (Against All Defendants)
   12                47.   Therabody realleges and incorporates by reference all foregoing
   13 paragraphs as if fully set forth herein.
   14                48.   At all times herein mentioned the ‘565 Patent was and is valid and fully
   15 enforceable.
   16                49.   Defendants are offering percussive massage devices that infringe at
   17 least claim 1 of the ‘565 Patent, including at least the Infringing Product.
   18                50.   Defendants' Infringing Product is a percussive massage device.
   19                51.   As shown below, the Infringing Product includes a housing wherein the
   20 housing includes first, second and third handle portions that cooperate to at least
   21 partially define a handle opening.
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    1                52.   As shown above, Defendants' Infringing Product includes a first handle
    2 portion that defines a first axis, a second handle portion defines a second axis and a
    3 third handle portion defines a third axis, and wherein the first, second and third axes
    4 are co-planar.
    5                53.   As shown above, the Infringing Product includes that the first handle
    6 portion is generally straight, the second handle portion is generally straight, and that
    7 the third handle portion is generally straight, such that a user can grasp any of the
    8 first, second or third handle portions independently to use the percussive massage
    9 device.
   10                54.   The Infringing Product includes an electrical source, a motor positioned
   11 in the housing, a switch for activating the motor, and a push rod assembly
   12 operatively connected to the motor and configured to reciprocate in response to
   13 activation of the motor.
   14                55.   On information and belief, at least since Plaintiff’s December 21, 2021
   15 email, Defendants have knowingly and actively induced the infringement of one or
   16 more of the ’565 Patent claims by, inter alia, marketing, promoting, and offering for
   17 use the Infringing Product, knowingly and intending that the use of the Infringing
   18 Product by Defendants’ customers and by users infringes the ’565 Patent. For
   19 example, Defendants intend to induce such infringement by, among other things,
   20 promoting users to purchase and use the Infringing Product knowing that its
   21 purchase and use infringes one or more claims of the ’565 Patent.
   22                56.   On information and belief, at least since Plaintiff’s December 21, 2021
   23 email, Defendants have contributed to the infringement of the ‘565 Patent by their
   24 customers and users of the Infringing Product by, inter alia, making, offering to sell,
   25 selling and/or importing into the United States, a component of a patented machine,
   26 manufacture or combination, or an apparatus for use in practicing a patented
   27 process, constituting a material part of the invention, knowing the same to be
   28 especially made or especially adapted for use in infringing the ‘565 Patent. The

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    1 Infringing Product is not a staple article or commodity of commerce suitable for
    2 substantial non-infringing use and is known by Defendants to be especially made or
    3 especially adapted to the infringe the ‘565 Patent. As a result, Defendants’
    4 Infringing Product has been used by its customers and by users to infringe the ‘565
    5 Patent. Defendants continue to engage in acts of contributory infringement of the
    6 ‘565 Patent even after receiving notice of its contributory infringement.
    7                57.   Defendants infringe literally or under the doctrine of equivalents, or
    8 both.
    9                58.   At no time has Therabody granted Defendants authorization, license, or
   10 permission to utilize the inventions claimed in the ‘565 Patent.
   11                59.   Therabody has been damaged by Defendants’ acts of infringement of
   12 the ‘565 Patent and Therabody will continue to be damaged by such infringement
   13 unless enjoined by this Court. Therabody is entitled to recover damages adequate to
   14 compensate for the infringement under 35 U.S.C. § 284.
   15                60.   Therabody is, and has been, irreparably harmed by Defendants’ on-
   16 going infringement including the following harm which cannot be quantified or
   17 recouped through monetary damages: (1) lost market share that will be difficult, if
   18 not impossible, to recoup later as the Infringing Product becomes entrenched with
   19 retail sellers and trainers who recommend them to their clients, (2) loss of first
   20 mover advantage that Therabody enjoyed as the first company to offer its innovative
   21 percussive devices and patented attachments, (3) loss of Therabody’s investment in
   22 developing the market for percussive devices and its patented attachments,
   23 (4) negative effect on its reputation as innovator and pioneer, (5) the unquantifiable
   24 effect on lost sales of related products, (6) price erosion due to Defendants’
   25 Infringing Product being sold at a price point lower than Therabody’s patented
   26 products, (7) diversion of resources to defend against loss of market share caused by
   27 sales of the Infringing Product, and (8) Defendants’ unauthorized sales that are
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    1 enticing others to offer for sale and sell infringing attachments that leads to
    2 additional irreparable harm described above.
    3                61.   Defendants’ acts of infringement, including continuing the infringing
    4 activities after receiving notice of Defendants’ direct and indirect infringement, have
    5 been, and continue to be, willful and deliberate and therefore warrant the award of
    6 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
    7 pursuant to 35 U.S.C. § 284.
    8                                  FOURTH CAUSE OF ACTION
    9                  Patent Infringement of the ’722 Patent, 35 U.S.C. §§ 101 et seq.
   10                                       (Against All Defendants)
   11                62.   Therabody realleges and incorporates by reference all foregoing para-
   12 graphs as if fully set forth herein.
   13                63.   At all times herein mentioned the ’722 Patent was and is valid and fully
   14 enforceable.
   15                64.   Defendants are offering percussive massage devices that infringe at
   16 least claim 12 of the ’722 Patent, including at least the Infringing Product.
   17                65.   The Infringing Product is a percussive massage device.
   18                66.   As shown below, the Infringing Product includes a housing, wherein
   19 the housing includes first, second and third handle portions that cooperate to at least
   20 partially define a handle opening, wherein the first handle portion includes a first
   21 handle portion exterior edge, wherein the second handle portion includes a second
   22 handle portion exterior edge, wherein the third handle portion includes a third
   23 handle portion exterior edge, wherein the first handle portion exterior edge defines a
   24 first handle portion exterior edge extended, wherein the second handle portion
   25 exterior edge defines a second handle portion exterior edge extended, wherein the
   26 third handle portion exterior edge defines a third handle portion exterior edge
   27 extended.
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    8                67.   As shown below, the Infringing Product includes first, second and third
    9 exterior edges extended cooperate to define a triangle that surrounds the handle
   10 opening, such that a user can grasp any of the first, second or third handle portions
   11 independently to use the percussive massage device.
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   20                68.   The Infringing Product includes an electrical source, a motor positioned
   21 in the housing, a switch for activating the motor, and a push rod assembly
   22 operatively connected to the motor and configured to reciprocate in response to
   23 activation of the motor.
   24                69.   As shown above, the Infringing Product includes the first handle
   25 portion exterior edge is generally straight, wherein the second handle portion
   26 exterior edge is generally straight, and wherein the third handle portion exterior
   27 edge is generally straight.
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    1                70.   Defendants’ infringe literally or under the doctrine of equivalents, or
    2 both.
    3                71.   On information and belief, at least since Plaintiff’s December 21, 2021
    4 email, Defendants have knowingly and actively induced the infringement of one or
    5 more of the ’722 Patent claims by, inter alia, marketing, promoting, and offering for
    6 use the Infringing Product, knowingly and intending that the use of the Infringing
    7 Product by Defendants’ customers and by users infringes the ’722 Patent. For
    8 example, Defendants intend to induce such infringement by, among other things,
    9 promoting users to purchase and use the Infringing Product knowing that its
   10 purchase and use infringes one or more claims of the ’722 Patent.
   11                72.   On information and belief, at least since Plaintiff’s December 21, 2021
   12 email, Defendants have contributed to the infringement of the ’722 Patent by their
   13 customers and users of the Infringing Product by, inter alia, making, offering to sell,
   14 selling and/or importing into the United States, a component of a patented machine,
   15 manufacture or combination, or an apparatus for use in practicing a patented
   16 process, constituting a material part of the invention, knowing the same to be
   17 especially made or especially adapted for use in infringing the ’722 Patent. The
   18 Infringing Product is not a staple article or commodity of commerce suitable for
   19 substantial non-infringing use and is known by Defendants to be especially made or
   20 especially adapted to the infringe the ’722 Patent. As a result, Defendants’
   21 Infringing Product has been used by its customers and by users to infringe the ’722
   22 Patent. Defendants continue to engage in acts of contributory infringement of the
   23 ’722 Patent even after receiving notice of its contributory infringement.
   24                73.   At no time has Therabody granted Defendants authorization, license, or
   25 permission to utilize the design claimed in the ’722 Patent.
   26                74.   Therabody has been damaged by Defendants’ acts of infringement of
   27 the ’722 Patent and Therabody will continue to be damaged by such infringement
   28 unless enjoined by this Court. Therabody is entitled to recover damages adequate to

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    1 compensate for the infringement under 35 U.S.C. § 284.
    2                75.   Therabody is, and has been, irreparably harmed by Defendants’ on-
    3 going infringement including the following harm which cannot be quantified or
    4 recouped through monetary damages: (1) lost market share that will be difficult, if
    5 not impossible, to recoup later as the Infringing Product becomes en-trenched with
    6 retail sellers and trainers who recommend them to their clients, (2) loss of first
    7 mover advantage that Therabody enjoyed as the first company to offer its innovative
    8 and patented percussive devices, (3) loss of Therabody’s investment in developing
    9 the market for percussive devices, (4) negative effect on its reputation as innovator
   10 and pioneer, (5) the unquantifiable effect on lost sales of related products, (6) price
   11 erosion due to Defendants’ Infringing Product being sold at a price point lower than
   12 Therabody’s patented products, (7) diversion of resources to defend against loss of
   13 market share caused by sales of the Infringing Product, and (8) Defendants’
   14 unauthorized sales that are enticing others to offer for sale and sell infringing
   15 attachments that leads to additional irreparable harm described above.
   16                76.   Defendants’ acts of infringement have been, and continue to be, willful
   17 and deliberate and therefore warrant the award of attorneys’ fees pursuant to 35
   18 U.S.C. § 285 and the award of enhanced damages pursuant to 35 U.S.C. § 284.
   19                                      PRAYER FOR RELIEF
   20                WHEREFORE, Therabody prays for judgment as follows:
   21                A.    A judgment that Defendants are liable on all causes of action alleged
   22 herein;
   23                B.    For an order requiring Defendants to account for all gains, profits,
   24 unjust enrichment, and other advantages derived from their breach of the Settlement
   25 Agreement;
   26                C.    For an order awarding Therabody its attorneys’ fees and costs as the
   27 prevailing party pursuant to the terms of the Settlement Agreement;
   28                D.    For an order finding that the Asserted Patents are valid and enforceable;

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    1                E.   For an order finding that Defendants have infringed the Asserted
    2 Patents directly, contributorily, and/or by inducement, literally or by equivalents, in
    3 violation of 35 U.S.C. § 271;
    4                F.   For an order temporarily, preliminarily and permanently enjoining
    5 Defendants, their officers, directors, agents, servants, affiliates, employees,
    6 subsidiaries, divisions, branches, parents, attorneys, representatives, privies, and all
    7 others acting in concert or participation with any of them, from further breaching the
    8 Settlement Agreement and infringing the Asserted Patents directly, contributorily
    9 and/or by inducement, or otherwise engaging in acts of unfair competition;
   10                G.   For a judgment directing that any products in the possession, custody or
   11 control of Defendants which infringe the Asserted Patents be delivered up and
   12 destroyed within 30 days of entry of judgment;
   13                H.   For a judgment directing Defendants to recall all such infringing
   14 products and any other materials sold, distributed, advertised or marketed which
   15 infringe the Asserted Patents;
   16                I.   For an order directing Defendants to file with the Court, and serve upon
   17 Therabody’s counsel, within thirty (30) days after entry of the order of injunction, a
   18 report setting forth the manner and form in which each of them has complied with
   19 the injunction;
   20                J.   For an order finding that Defendants’ conduct alleged herein was
   21 willful and intentional and in conscious disregard of Therabody’s rights;
   22                K.   For compensatory damages in an amount to be proven at trial,
   23 including compensatory damages, lost profits and/or reasonable royalty, in amounts
   24 to be fixed by the Court in accordance with proof, including general, statutory,
   25 enhanced, exemplary, treble, and/or punitive damages, as appropriate;
   26                L.   For an order finding that this is an exceptional case, and awarding
   27 Plaintiff’s reasonable attorney’s fees according to proof;
   28

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    1                M.    For an order awarding Therabody its costs of court; and
    2                N.    For such other and further relief as the Court may deem just and proper.
    3
    4                                    DEMAND FOR JURY TRIAL
    5                Plaintiff demands trial by jury on all issues so triable.
    6
    7
        DATED: March 23, 2022                       JEFFER MANGELS BUTLER &
    8
                                                    MITCHELL LLP
    9                                               STANLEY M. GIBSON
                                                    GREGORY S. CORDREY
   10
                                                    JOSEPH J. MELLEMA
   11                                               ROD S. BERMAN
   12
   13
   14                                               By:         /s/ Gregory S. Cordrey
   15                                                             GREGORY S. CORDREY
                                                          Attorneys for Plaintiff THERABODY,
   16                                                     INC.
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